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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION

                                                   )
ANNA LANGE,                                        )
                                                   )
                                Plaintiff,         )
                                                   )
       v.                                          )    Civil Action No. 5:19-CV-00392-MTT
                                                   )
HOUSTON COUNTY, GEORGIA, et al.,                   )
                                                   )
                                Defendants.        )
                                                   )
                                                   )
                                                   )

               PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION
              TO DEFENDANTS’ MOTION FOR STAY PENDING APPEAL

       Plaintiff Sgt. Anna Lange respectfully submits this memorandum of law in opposition to

Defendants’ Motion For Stay Pending Appeal, ECF 260 (the “Motion”), filed by Defendant

Houston County, Georgia and Defendant Sheriff Cullen Talton (in his official capacity)

(collectively, “Defendants”) on October 17, 2022, seeking a stay of this Court’s Order for

Permanent Injunctive and Declaratory Relief (the “Order”).

                                             INTRODUCTION

       Defendants’ Motion For Stay Pending Appeal should be denied. To justify a stay, the

moving party generally must establish that: (i) they are likely to succeed on the merits of their

appeal; (ii) they will be irreparably injured absent the grant of stay; (iii) a stay would not inflict

substantial injury on the non-moving party; and (iv) the public interest would be served by a stay.

Nken v. Holder, 556 U.S. 418, 425–26 (2009). Each of these four factors weighs against staying

the Order. Defendants themselves recognize that they are unable to meet the first and third prongs

of the standard. See ECF 260-1, at 3, 8.
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       However, Defendants press their motion under an alternative standard: in some cases

“when the balance of equities . . . weighs heavily in favor of granting the stay,” the stay may be

granted upon a showing of a “substantial case,” rather than a likelihood of success. League of

Women Voters of Fla., Inc. v. Fla. Sec’y of State, 32 F.4th 1363, 1370 (11th Cir. 2022); ECF 260-

1, at 3. But because the equitable balance does not weigh heavily in favor of a stay, as discussed

herein, this standard does not apply. And, even under this alternative standard, Defendants have

not demonstrated that they can make a “substantial case” on appeal. They merely recycle the same

erroneous arguments that this Court has previously rejected.

       Moreover, Defendants fail to satisfy any of the other three prongs, let alone demonstrate

that they weigh heavily in their favor. They do not allege any irreparable injury. The only injury

that they claim, the cost of Plaintiff’s healthcare, is monetary and therefore reparable. Defendants

mischaracterize the existing, undisputed record and cite to an extra-record news article about a

phalloplasty, a completely different procedure to suggest that the cost of gender-confirming

healthcare is unknowable or extraordinary. Even if this were true, such speculation is not sufficient

to support staying the injunction. Defendants must show actual, imminent injury that cannot be

undone. As to the third factor, Defendants concede that granting a stay would inflict substantial

injury on Plaintiff. Plaintiff agrees. Such injury is supported by both the record and by the recent

jury finding in Sgt. Lange’s favor. Finally, the public interest would not be served by permitting

Defendants to continue withholding healthcare from Sgt. Lange, nor in pursuing a costly appeal at

the taxpayers’ expense.

                                   PROCEDURAL HISTORY

       In its June 2, 2022 Order on Motions for Summary Judgment, this Court held that Sgt.

Lange established as a matter of law that the Exclusion (as defined in the Summary Judgment




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Order) in the Houston County Health Plan (the “Health Plan”) is facially discriminatory in

violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. (“Title VII”), and

that Houston County (the “County”) is an “agent” for purposes of Title VII. ECF 205. In its

August 11, 2022 order, the Court set this matter for trial with respect to damages on Sgt. Lange’s

Title VII claim. ECF 217.

        On September 27, 2022, following a jury trial, Sgt. Lange was awarded $60,000 in

compensatory damages resulting from the Exclusion in the Defendants’ Health Plan. ECF 256.

The parties thereafter conferred to draft the terms of an injunction that was jointly submitted to the

Court. The Order was entered on October 3, 2022. ECF 258. On October 17, 2022, Defendants

filed this Motion seeking a stay of the Order pending appeal. ECF 260-1. On October 21, 2022,

Defendants filed a Notice of Appeal. ECF 262.

                                           ARGUMENT

   I.      THERE IS NO BASIS TO GRANT A STAY.

        A motion under Rule 62(c) seeking to stay an injunction pending appeal is “extraordinary

relief for which the moving party bears a heavy burden.” Lowe Electric Supply Co. v. Rexel, Inc.,

5:14-cv-0035 (M.D. Ga. Sept. 22, 2014) (citing Jaffe v. Bank of Am., N.A., 667 F.Supp.2d 1299,

1323 (S.D. Fla. 2009) (quoting Winston Salem/Forsyth County Bd. of Edu. v. Scott, 404 U.S. 1221,

1231 (1971)). To justify a stay, the moving party must establish that: (i) they are likely to succeed

on the merits of their appeal; (ii) they will be irreparably injured absent the grant of stay; (iii) a

stay would not inflict substantial injury on the non-moving party; and (iv) the public interest would

be served by a stay. Nken, 556 U.S. at 425-26. Because each of these four factors weighs against

staying the Order, Defendants’ motion should be denied.




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              A. Defendants Have Not Shown That They Are Likely To Succeed On Appeal
                 Nor That They Have A Substantial Case.

         Ordinarily, in order to prevail on a motion to stay an injunction, Defendants must make “a

strong showing that [they are] likely to succeed on the merits” of their appeal.1 Nken, 556 U.S. at

426. The Eleventh Circuit has stated that this factor is the most important one. See Garcia-Mir v.

Meese, 781 F.2d 1450, 1453 (11th Cir. 1986); Robles Antonio v. Barrios Bello, No. 04-12794-GG,

2004 WL 1895123, at *1 (11th Cir. 2004). Defendants have not made a showing under this

standard.


         Rather than establishing that they are likely to succeed on the merits on appeal, Defendants

attempt to proceed under the lesser standard of showing a “substantial case” on the merits.2 ECF

260-1, at 3–6. As discussed below, Defendants do not, and cannot, establish that the balance of

the equities “weighs heavily” in favor of granting the stay, which is a necessary prerequisite for

the application of the lesser standard. See Tokyo Gwinnett, LLC, 2022 WL 15524962, at *2

(“Although [Appellant] is correct that a stay can be granted without showing a likelihood of a

successful appeal on the merits, in order to grant a stay in such circumstances, the Court must find

that the remaining factors weigh heavily—and not just tipping the balance—in [Appellant’s]

favor.”)



1
  Because they have not argued that they are likely to succeed on the merits of the appeal, Defendants have waived
the Court’s consideration of this factor. See Tokyo Gwinnett, LLC v. Gwinnett County, Ga., No. 1:15-CV-2606-
TWT, 2022 WL 15524962, at *2 (N.D. Ga. Oct. 27, 2022) (holding that Tokyo waived the Court’s consideration of
the first factor by failing to argue that it is likely to succeed on the merits of its appeal and instead arguing that it has
a “substantial case”).
2
  The majority of Defendants’ arguments as to the merits of their appeal read more like a motion for reconsideration,
in that they point out supposed errors this Court made. See, e.g., ECF 260-1, at 3–4 (stating that they are “acutely
aware of this Court’s previous rulings” yet nonetheless arguing that this Court misapplied the law by finding that
intent is irrelevant to a finding of facial discrimination); ECF 260-1, at 5 (arguing that this Court incorrectly found
that the Exclusion is facially discriminatory). Such arguments are inappropriate when it comes to satisfying the first
factor under Nken. See Tokyo Gwinnett, LLC, 2022 WL 15524962, at *2 (explaining that the first factor requires a
showing that the party is likely to prevail on appeal, not that there is a possibility of error).


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       Regardless of the standard applied, Defendants’ arguments as to the strength of their case

fail as a matter of law. Defendants repeat the same arguments that this Court has heard and rejected

numerous times, including in their motions for dismissal, for reconsideration, for summary

judgment, and for certification for interlocutory review. Defendants argue that the Supreme

Court’s decision in Bostock v. Clayton County, Ga., 140 S.Ct. 1731 (2020), which held that Title

VII protects individuals from discrimination based on transgender status, requires Plaintiff to prove

not only that an employer has created, maintained, or applied a facially discriminatory policy that

treats some employees worse than others “because of . . . sex” but also that the employer had some

separate, additional intent to discriminate. This argument ignores decades of legal precedent

establishing that additional evidence of intent is not required where there is a finding of facial

discrimination under Title VII. See, e.g., Int’l Union, United Auto., Aerospace & Agr. Implement

Workers of Am., UAW v. Johnson Controls, Inc., 499 U.S. 187, 199 (1991) (“Whether an

employment practice involves disparate treatment through explicit facial discrimination does not

depend on why the employer discriminates but rather on the explicit terms of the discrimination.”);

cf. Bostock, 140 S.Ct. at 1743 (affirming as “irrelevant” an employer’s defense against a Title VII

claim that it is “not guilty of animosity against women”) (citing Los Angeles Dept. of Water and

Power v. Manhart, 435 U.S. 702 (1978)).

       In Bostock, the Supreme Court explained that Title VII “prohibits employers from taking

certain actions ‘because of’ sex.’” Id. at 1739. The Court further explained that “it is impossible

to discriminate against a person for being . . . transgender without discriminating against that

individual based on sex.” Id. at 1741. This Court correctly concluded, on the undisputed record,

that the Exclusion applies only to transgender members of the Health Plan and it applies to Sgt.




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Lange because she is transgender. ECF 205, at 23. Therefore, “it is undisputed that the Exclusion

is facially discriminatory” and there is no “Bostock workaround.” Id. at 22, 28.

        Nevertheless, Defendants assert that, under Bostock, Plaintiff must show that the

discrimination was intentional.3 But as this Court has already held, post-Bostock, no further

evidence of intent is required where an employment policy is facially discriminatory. ECF 205,

at 22 (“[T]he absence of a malevolent motive does not convert a facially discriminatory policy into

a neutral policy with a discriminatory effect.”) (quoting Johnson Controls, 499 U.S. at 199).

Bostock did not disturb decades of precedent holding that intent is irrelevant where a policy is

facially discriminatory. See e.g., Johnson Controls, at 199; Manhart, 435 U.S. at 711; Feemster

v. BSA Ltd. Partn., 548 F.3d 1063, 1070 (D.C. Cir. 2008) (“[U]nder Title VII, when a policy is

‘discriminatory on its face,’ the defendant’s motive is irrelevant.”) (reviewing cases); Rodriguez

v. Procter & Gamble Co., 465 F. Supp. 3d 1301, 1320 (S.D. Fla. 2020); (“Intentional

discrimination can be established by a facially discriminatory policy: one that explicitly applies

less favorably to some, or all, members of a protected group.”).

        Defendants’ reading of Young v. United Parcel Svc., Inc., 575 U.S. 206 (2015), which

repeats the same argument rejected by this Court in the order on Defendants’ motion for

certification for interlocutory review, ECF 220, fails as a matter of law. In Young, the issue was

“whether [the employer’s] facially neutral policy imposed a significant burden on pregnant

employees . . . which of course encompassed the question of intent.” ECF 220, at 4 (discussing

Young v. United Parcel Svs., Inc., 575 U.S. 206 (2015)). Young thus has no bearing here, given

that this Court has already determined that the Exclusion is facially discriminatory. ECF 205, at

22-23 (explaining “for example, that the plan pays for mastectomies when medically necessary for


3
 Defendants’ reliance on the proceedings on remand in one of the three companion cases resolved under Bostock is
misplaced—unlike here, no facially discriminatory policy was at play in that case.


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cancer treatment but not when mastectomies are medically necessary for sex change surgery”).

Even Defendants, as this Court has noted, “do[] not argue that the Exclusion, standing alone, is

facially neutral” and “admit a facially discriminatory policy violates Title VII regardless of intent.”

ECF 220, at 4.

       Defendants have not met the first, and most important, prong of the four-factor test for a

stay pending appeal, even under their proposed lower standard of a “substantial case.” For this

reason alone, Defendants’ motion should be rejected.

           B. Defendants Will Not Be Irreparably Injured By An Order Enjoining The
              Unlawful Exclusion.

       Defendants have not shown that they will be irreparably harmed absent a stay of the Order.

As this Court has explained, “[t]o demonstrate irreparable harm, a movant must show that the

injury cannot be undone through monetary remedies.” Redding v. Fanning, 2015 WL 9991768, at

*1 (M.D. Ga. Oct. 14, 2015) (citing Telestrata, LLC v. NetTALK.com, Inc., 126 F.Supp.3d 1344,

1353 (S.D. Fla. Aug. 19, 2015)). Defendants have made no such showing. The only injury that

Defendants point to—the cost of removing the Exclusion and covering Plaintiff’s healthcare as

required by the Order—is exactly the kind of injury that can be redressed by a monetary remedy.

Defendants admit as much, stating that they would be entitled to the monetary remedy of restitution

for any expenses incurred by the Health Plan if they were to succeed on appeal. ECF 260-1, at 9.

       Defendants’ sole cited case on this issue is easily distinguishable here. In Garcia-Mir v.

Meese, the district court had ordered the defendant to (1) draft a plan to conduct individual

detention hearings for each member of a certified class of Cuban refugees and (2) implement the

plan and conduct the hearings within 60 days. Garcia-Mir, 781 F.2d at 1451-52. The Eleventh

Circuit stayed the implementation of the plan pending appeal on the merits. Id. at 1451. There,

the district court had ordered the defendant to undertake work that would distract and burden the



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subject agency and could lead to public safety harms should refugees be admitted into the United

States improperly. Id. at 1456. By contrast, Defendants here have been ordered to remove the

Exclusion and pay the covered portion of Sgt. Lange’s care. The burden imposed is monetary, as

opposed to the enforcement and administrative burdens in Garcia-Mir. Therefore, any purported

harm Defendants could suffer is inherently reparable.4

         Although the law is clear that a monetary injury cannot constitute an irreparable injury,

Defendants devote significant attention to the potential costs associated with paying for Plaintiff’s

healthcare. But the record shows that the cost of removing the Exclusion is unlikely to be

significant. Defendants have elected a self-funded Health Plan, from which the County pays

healthcare costs for employees as a matter of course. ECF 205, at 7; ECF 174, at ¶¶ 67–69, 72.

The Health Plan, which has annual expenditures of approximately $10 million, covers numerous

“high-cost” claims for medically necessary care, including individual procedures in excess of

$100,000 and, in one instance, total annual costs reaching $1.1 million for a single employee. Id.

at ¶¶ 244-45 (citing Grant Decl., Ex. M HC Dep. (Carter II) at 92:7-11). By contrast, the estimated

cost of the surgery that Sgt. Lange seeks ($25,600 according to the County’s own records) would

amount to one quarter of one percent of the Health Plan’s annual expenditure. ECF 174, at ¶ 224.

The cost is too little even to be deemed a “high-cost” claim under the County’s own definition. Id.

at 192 (citing Grant Decl. Ex. A Carter Dep. at Ex. 17, p. 7) (categorizing “high-cost” claims as

costing over $50,000).




4
  Notably, Defendants do not argue that Sgt. Lange is indigent or that some other circumstance would render a
monetary injury somehow irreparable here. Although she does not have sufficient savings to pay the cash price for
her surgery—hence, her need to oppose Defendants’ motion—she has assets and a steady income. Moreover,
Defendants’ apparent ability to pay magnitudes more on litigating this case than the cost of Sgt. Lange’s surgery, as
detailed below, further emphasizes that the cost of Sgt. Lange’s surgery is not an irreparable injury to the Defendants.


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         Defendants attempt to bolster their argument by claiming—in direct contradiction to the

record—that “the exact cost of a vaginoplasty is apparently unknown.” ECF 260-1, at 8. But

Defendants do know the approximate cost of a vaginoplasty—$25,600—because they sought that

information from their insurance broker, who obtained it directly from the Health Plan’s

administrator, Anthem Blue Cross Blue Shield (“Anthem”) when this lawsuit was originally filed.

ECF 174, at ¶¶ 186-89, 224; ECF 205, at 7. Ignoring the record, Defendants instead cite testimony

from Dr. Rachel Bluebond-Langner, which neither contradicts what Anthem told Defendants, nor

supports Defendants’ assertion.5

         Defendants seek to inflate the potential cost of Sgt. Lange’s care by introducing an

irrelevant extra-record New York Times article about a transgender man seeking a phalloplasty, an

entirely different (and considerably more complex) surgery from the one Sgt. Lange requires. The

article states, without attribution, that a phalloplasty could cost “as much as $200,000.” ECF 260-

1, at 8. Other than the fact that the patient in that article and Sgt. Lange are both transgender and

share a doctor, the article has nothing to do with this case. Dr. Bluebond-Langner is featured as a

treating physician; she says nothing about cost. The article offers nothing relevant to this case and

only highlights that Defendants’ argument relies on Sgt. Lange’s status as a transgender person

and not any evidence in the record.

         Defendants’ arguments that the cost is unknown or extraordinary (either generally or to

Defendants specifically) is contradicted by the record. This factor, thus, must weigh against

granting a stay.




5
 Defendants here misconstrue Dr. Bluebond-Langner’s testimony, which is: “Q: How much is NYU paid for a
vaginoplasty? A: I have no idea.” Dr. Bluebond-Langner, a salaried physician, does not bill her patients; she has no
basis or need to know how much her employer NYU-Langone and various insurers have agreed to bill for a
vaginoplasty. Defendants did not seek discovery from NYU-Langone.


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           C. Sgt. Lange Would Endure Significant And Undue Hardship If A Stay Is
              Granted.

       As Defendants concede, Sgt. Lange would be substantially injured by the grant of

Defendants’ stay. ECF 260-1, at 8. Sgt. Lange has already waited four years for the surgery that

she needs. At trial, the jury recognized the significant emotional distress that this delay in receiving

medically necessary care has already caused her. See ECF 256; Sept. 26 and 27, 2022 Trial Tr.,

at 54–58. A stay would only serve to increase Sgt. Lange’s injury and prolong her suffering. See

Belton v. Georgia, No. 1:10-CV-0583-RWS, 2013 WL 4551307, at *2 (N.D. Ga. Aug. 27, 2013)

(denying a stay of the court’s injunction directing the Georgia Department of Behavioral Health

and Developmental Disabilities to implement changes to bring its services in compliance with the

ADA where “granting a stay would result in substantial injury to the Plaintiffs by prolonging [the

plaintiffs’] exclusion from public mental health services in Georgia.”). The significant and

unnecessary hardship that Sgt. Lange would endure if a stay were granted weighs heavily against

Defendants’ requested stay.

           D. The Public Interest Is Not Served By Permitting Defendants To Continue
              The Discrimination That Has Been Found To Be Unlawful.

       The public interest lies in ensuring that members of the Health Plan have access to the

medical care that they require. To do so, Defendants must cease to discriminate in the provision

of healthcare coverage on the basis of transgender status. See Flack v. Wisconsin Dept. of Health

Services, 331 F.R.D. 361, 373 (W.D. Wis. Apr. 23, 2019) (finding balance of harms tips in favor

of transgender plaintiffs given health benefits of covering gender-affirming care and “nominal cost

increases” in doing so); Monroe v. Baldwin, 424 F.Supp.3d 526, 546 (S.D. Ill. Dec. 19, 2019)

(“The balance of harm substantially weighs in favor of granting injunctive relief” in the context of

providing treatment for gender dysphoria.); Mitson ex. rel. Jones v. Coler, 670 F. Supp. 1568, 1577




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(S.D. Fla. Oct. 5, 1987) (the public interest is “substantially benefitted” when people “receive

essential medical care that could not otherwise be provided.”).

        Given that Title VII requires injunctive relief against ongoing employment discrimination,

the balance of hardships and the public interest merge with the merits as to Sgt. Lange’s statutory

claims. 42 U.S.C. §§ 2000e-5(g)(1), 12117(a); Intl. Broth. of Teamsters v. U.S., 431 U.S. 324, 364

(1977) (“[D]istrict courts have not merely the power but the duty to render a decree which will so

far as possible eliminate the discriminatory effects of the past as well as bar like discrimination in

the future.”); James v. Stockham Valves & Fittings Co., 559 F.2d 310, 358 (5th Cir. 1977) (“[T]he

Supreme Court has stressed the ‘strong public interest in having injunctive actions brought under

Title VII, to eradicate discriminatory employment practices.’”).

        As to financial considerations, Defendants’ claim fails given that, as this Court has held,

“[n]either Congress nor the courts have recognized a cost justification defense under Title VII.”

ECF 205, at n.15 (citation and some punctuation omitted). Their argument that covering Sgt.

Lange’s surgery would so compromise their finances as to contravene the public interest also rings

hollow given that, as a matter of public record, the County has expended well over one million

dollars defending against this litigation—over 40 times the estimated cost of a vaginoplasty.6 See

Exhibit A. It is difficult to reconcile Defendants’ argument that paying $25,600 one time is

harmful to the public interest but paying a similar sum monthly, for years, is not. The public

interest lies in Defendants ceasing to discriminate, as required by Title VII; covering Sgt. Lange




6
 $1,017,593.28 as of August 31, 2022. See Exhibit A, including summary statements of Defendants’ Attorneys’
Fees. Notably, this figure does not include the cost of taking this matter to a jury trial in September 2022.


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healthcare just as they do for non-transgender employees; and ceasing to pursue any and all

possible avenues to maintain their discriminatory Exclusion at taxpayer expense.

   II.      AS THE PREVAILING PARTY, PLAINTIFF SHOULD NOT BE REQUIRED
            TO POST A BOND.

         The Court should reject Defendants’ request that Sgt. Lange be ordered to post a bond in

the amount of the cost of her surgery. Federal Rule of Civil Procedure 62(d) permits the district

court to suspend a final judgment granting injunctive relief pending an appeal of that judgment,

“on terms for bond or other terms that secure the opposing party’s rights.” Fed. R. Civ. P. 62

(emphasis added). See also Poplar Grove Planting & Ref. Co. v. Bache Halsey Stuart, Inc., 600

F.2d 1189, 1190-91 (5th Cir. 1979) (“The purpose of a supersedeas bond is to preserve the status

quo while protecting the non-appealing party’s rights pending appeal.”) (emphasis added).

         As an initial matter, Defendants’ request for Sgt. Lange to pay a bond should be rejected

because they do not identify any legal basis for their request, nor the Court’s authority to grant it.

While the Federal Rules provide that plaintiffs benefitting from the issuance of a preliminary

injunction may be required under Rule 65(c) to post a bond pending resolution on the merits, there

is no corresponding rule for permanent injunctions pending appeal. See Fed. R. Civ. P. 65 (“The

court may issue a preliminary injunction or a temporary restraining order only if the movant gives

security in an amount that the court considers proper to pay the costs and damages sustained by

any party found to have been wrongfully enjoined or restrained.); Ty, Inc. v. Publ'ns Int'l Ltd., 292

F.3d 512, 516 (7th Cir. 2002) (holding that an injunction bond is required only for a temporary

restraining order or a preliminary injunction, not for a permanent injunction), cert. denied, 537

U.S. 1110 (2003); FDIC v. Lewis, No. 2:10-CV-439 JCM VCF, 2014 WL 4929343, at *2 (D. Nev.

Oct. 1, 2014) (“Federal Rule of Civil Procedure 65(c) explicitly refers to posting of bond only in




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connection with temporary restraining orders and preliminary injunctions. The rule does not

require an applicant to post bond in connection with entry of a permanent injunction.”).

       Moreover, even in the case of preliminary injunctions, courts within this Circuit have

declined to require that a plaintiff post a bond for necessary healthcare while awaiting final

resolution on the merits. For example, in K.G. ex rel. Garrido v. Dudek, 839 F. Supp. 2d 1254

(S.D. Fla. 2011), the court held that the harm to the plaintiff’s “physical and mental health if he

did not immediately receive the treatment” ordered in the injunction “far outweighed” the fiscal

harm to a defendant resulting from an issuance of a preliminary injunction requiring a state health

agency to pay $33,000–$55,000 for a plaintiff’s healthcare.).

       Finally, posting a bond is not possible for Plaintiff and would therefore have the same

impact as staying the Order. Plaintiff, who makes $46,000 per year, does not have the financial

resources to post a $25,600 bond. Without insurance coverage, for which she pays monthly

premiums, the cost of this surgery is out of her reach. Requiring Plaintiff to post the cost of the

surgery as a bond would have the same impact as keeping the unlawful Exclusion in place—she

would not be able to obtain the medically necessary care for which she has waited four years, and

which Title VII requires.




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                                        CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that the Court deny the Motion.



       Respectfully submitted this 11th day of November, 2022.



  /s/ Wesley R. Powell
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                                CERTIFICATE OF SERVICE

                This is to certify that I have this day served the foregoing PLAINTIFF’S

MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’ MOTION FOR STAY

PENDING APPEAL to the Clerk of Court using the CM/ECF system, which will automatically

send electronic mail notification of such filing to the following counsel of record, who are CM/ECF

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       This 11th day of November, 2022.



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